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              ANDERSON EXHIBIT 1
                      Case 1:01-cv-12257-PBS Document 6625-2 Filed 11/02/09 Page 2 of 9
                                     ProTEXT Transcript Condensing for Windows
      SHEET 1      PAGE 1                                                   PAGE 3
00001                                                                   9 the Texas Rules of Civil Procedure and the provisions
  1                    UNITED STATES DISTRICT COURT                    10 attached previously.
                          DISTRICT OF MASSACHUSETTS                    11
  2                                                                    12
  3     In re: PHARMACEUTICAL                 )                        13
        INDUSTRY AVERAGE WHOLESALE            ) MDL No. 1456           14
  4     PRICE LITIGATION                      ) Civil Action No.       15
                                                )     01-12257-PBS     16
  5                                           )                        17
        THIS DOCUMENT RELATES TO:             )                        18
  6                                           )                        19
        United States of America,             ) Hon. Patti Saris       20
  7     ex rel. Ven-a-Care of the             )                        21
        Florida Keys, Inc., v.                )                        22
  8     Abbott Laboratories, Inc.,            )                        23
        and Hospira, Inc.                     )                        24
  9     CIVIL ACTION NO. 06-11337-PBS         )                        25
 10                                                                   00003
        ******************************************************          1                APPEARANCES
 11                                                                     2 FOR THE PLAINTIFF THE STATE OF TEXAS:
                             NO. D-1-GV-04-001286                       3         Mr. Raymond C. Winter
 12                                                                                Ms. Margaret Moore
        THE STATE OF TEXAS               ) IN THE DISTRICT COURT        4         Assistant Attorneys General
 13                                      )                                         Office of the Attorney General
        ex rel.                          )                              5         State of Texas
 14        VEN-A-CARE OF THE             )                                         Post Office Box 12548 (78711-2548)
      PAGE 2                                                                PAGE 4
              FLORIDA KEYS, INC.,        )                              6            300 W. 15th Street, 9th Floor
 15                Plaintiffs,           )                                            Austin, Texas 78701
                                           )                            7
 16     VS.                              ) TRAVIS COUNTY, TEXAS              FOR THE RELATOR:
                                           )                            8
 17     ABBOTT LABORATORIES INC.,        )                                            Mr. C. Jarrett Anderson
        ABBOTT LABORATORIES, and         )                              9            Anderson LLC
 18     HOSPIRA, INC.,                   )                                            1300 Guadalupe, Suite 103
                 Defendant(s).            ) 201ST JUDICIAL DISTRICT    10            Austin, Texas 78703
 19                                                                    11    FOR THE DEFENDANTS ABBOTT LABORATORIES INC. AND
 20     ******************************************************               HOSPIRA, INC.:
                    ORAL AND VIDEOTAPED DEPOSITION OF                  12
 21                          DEBRA DEYOUNG                                            Ms. Toni-Ann Citera
 22                         March 20, 2007                             13            Jones Day
 23                          CONFIDENTIAL                                             222 East 41st Street
 24     ******************************************************         14            New York, New York 10017-6702
 25                                                                    15    FOR THE PLAINTIFF UNITED STATES OF AMERICA:
00002                                                                  16            Mr. Gejaa Gobena
  1    ORAL AND VIDEOTAPED DEPOSITION OF DEBRA DEYOUNG,                               Trial Attorney
  2 produced as a witness at the instance of the                       17            (By telephonic means)
  3 Plaintiffs, and duly sworn, was taken in the                                      Commercial Litigation, Fraud
  4 above-styled and numbered cause on the 20th of March,              18            U.S. Department of Justice
  5 2007, from 9:04 a.m. to 5:25 p.m., before CYNTHIA                                 Civil Division
  6 VOHLKEN, CSR in and for the State of Texas, reported               19            601 D Street, N.W.
  7 by machine shorthand, at the offices of Jones Day, 77                             Patrick Henry Building - 9133
  8 W. Wacker, Suite 3500, Chicago, Illinois, pursuant to              20            Washington, D.C. 20004
                                          You may have up to 3 Header and 3 Footer Lines
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  1 that are addressed to you, such as the Medicaid rebate     1 Outside the scope.
  2 manual. Are you familiar with that document?               2     A. I understood that I had to fill out the Texas
  3     A. We have --                                          3 Vendor form in order for my product to be considered
  4               MS. CITERA: Objection to the form.           4 for a state Medicaid formulary. That's all I knew.
  5 Outside the scope. I'm not really sure what the            5     Q. (BY MR. ANDERSON) And when you say
  6 relevance is, but go ahead.                                6 "considered," you mean eligible for Medicaid
  7     A. I have a copy of the manual.                        7 reimbursement, correct?
  8     Q. (BY MR. ANDERSON) And you -- you, in fact,          8               MS. CITERA: Objection to the form.
  9 also receive other notifications from HCFA, now known      9 Outside the scope.
 10 as CMS, regarding Medicaid rebate issues, don't you?      10     A. That a Medicaid prescription could be written
 11               MS. CITERA: Objection to the form.          11 and filled with one of my products.
 12 Outside the scope.                                        12     Q. (BY MR. ANDERSON) Right. And so if you
 13     A. CMS issues guidance letters and those are          13 didn't submit the prices that were requested by Texas,
 14 sent out to all the manufacturers.                        14 then your Abbott drugs wouldn't be eligible for
 15     Q. (BY MR. ANDERSON) Right. And for Abbott,           15 reimbursement in Texas, correct?
 16 you're one of the contact persons to receive those        16               MS. CITERA: Objection to the form.
 17 documents, correct?                                       17 Outside the scope.
 18     A. Yes, I am.                                         18     A. It was my understanding that the Texas form
 19               MS. CITERA: Objection to the form.          19 that has many pieces of information on it had to be
 20 Outside the scope.                                        20 filed in order for my product to be on their
 21     Q. (BY MR. ANDERSON) What efforts, if any, did        21 formulary.
 22 you or others in Abbott take to understand and comply     22     Q. Right. And the reason -- why was it
 23 with Medicaid reimbursement requirements and              23 important to Abbott to take steps to have its products
 24 regulations?                                              24 eligible for reimbursement in Texas?
 25               MS. CITERA: Objection to the form.          25               MS. CITERA: Objection to the form.
00158                                                        00160
    PAGE 162                                                     PAGE 164
  1 Outside the scope.                                         1 Outside the scope.
  2     A. I don't know what you're referring to when          2     A. We're a business. We want our product to be
  3 you're talking about Medicaid reimbursement                3 able to be prescribed.
  4 requirements.                                              4     Q. (BY MR. ANDERSON) Well, what would stop
  5     Q. (BY MR. ANDERSON) The phrase "Medicaid              5 Abbott's products from being prescribed if they were
  6 reimbursement" is confusing to you?                        6 not eligible for Medicaid reimbursement?
  7     A. I don't know what you're looking for in terms       7               MS. CITERA: Objection to form. Outside
  8 of steps that I would take on reimbursement. I deal        8 the scope.
  9 with Medicaid rebate.                                      9     A. It would be limited, I guess, to commercial
 10     Q. Well, you also deal with Medicaid                  10 customers. It wouldn't be -- you wouldn't be able to
 11 reimbursement, also, don't you?                           11 fill a script for a Medicaid patient.
 12               MS. CITERA: Objection to the form.          12     Q. (BY MR. ANDERSON) So if I follow what you're
 13 Outside the scope.                                        13 saying, in essence, it's important for Abbott to have
 14     A. I don't deal with Medicaid reimbursement.          14 its products eligible for Medicaid reimbursement
 15     Q. (BY MR. ANDERSON) Well, if I understood your       15 because otherwise those products won't be able to be
 16 testimony correctly this morning you actually are the     16 dispensed to Medicaid patients and providers wouldn't
 17 point person for reporting prices to Texas Medicaid,      17 be reimbursed when they did make such a drug
 18 correct?                                                  18 dispensation, correct?
 19               MS. CITERA: Objection to the form.          19     A. I think --
 20 Outside the scope.                                        20               MS. CITERA: Objection to the form.
 21     A. I filled out the Texas Vendor form.                21 Outside the scope.
 22     Q. (BY MR. ANDERSON) And you understood that          22               MR. ANDERSON: I'll rephrase. I'll make
 23 that was part of the reimbursement process by Texas       23 it real simple.
 24 Medicaid, correct?                                        24               MS. CITERA: Okay.
 25               MS. CITERA: Objection to the form.          25     Q. (BY MR. ANDERSON) Are you saying, in
00159                                                        00161
                                    You may have up to 3 Header and 3 Footer Lines
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    SHEET 42   PAGE 165                                          PAGE 167
  1 essence, Ms. DeYoung, that it was important to Abbott      1     A. I don't believe so, no.
  2 to have their products eligible for Medicaid               2     Q. The pharmacy gets --
  3 reimbursement because it would help Abbott sell its        3     A. The pharmacy --
  4 products?                                                  4     Q. -- the reimbursement.
  5               MS. CITERA: Objection to the form.           5     A. -- gets the reimbursement --
  6 Outside the scope.                                         6     Q. Right.
  7     A. I think we wanted access for our product.           7     A. -- but the doctor is what drives the script.
  8     Q. (BY MR. ANDERSON) And when you say                  8     Q. All right. And do you understand that
  9 "access" --                                                9 doctors will refuse to write scripts on Abbott drugs
 10     A. In every environment.                              10 if those Abbott drugs aren't covered by Medicaid?
 11     Q. And when you say "access in every                  11                MS. CITERA: Objection to the form.
 12 environment," you mean eligible for reimbursement by      12 Outside the scope.
 13 both Medicaid and Medicare and private payers,            13     A. It's my understanding that as a business we
 14 correct?                                                  14 want access in every environment and that as part of
 15               MS. CITERA: Objection to the form.          15 that process in order for my product to be prescribed
 16 Outside the scope.                                        16 for Medicaid in Texas I had to fill out that form and
 17     A. We want our products to be able to be written      17 provide the information.
 18 by a physician and it doesn't matter who that patient     18     Q. (BY MR. ANDERSON) Who gave you that
 19 is a member of or -- you know, we want our product to     19 understanding?
 20 be able to be written for anybody that comes into a       20                MS. CITERA: Objection to form. Outside
 21 doctor's office. So access is very important.             21 the scope.
 22     Q. (BY MR. ANDERSON) Well, Medicaid coverage          22     A. Well, it was part of a process and we
 23 doesn't stop a doctor from prescribing Abbott drugs,      23 actually have -- I'm trying to think of -- I know when
 24 does it?                                                  24 a new product was launched, that that was just part of
 25               MS. CITERA: Objection to the form.          25 the process. When Kay Morgan did it, she had to fill
00162                                                        00164
    PAGE 166                                                     PAGE 168
  1 Outside the scope.                                         1 out a form for Texas. So when those boxes ended up in
  2     A. I don't know if it does or doesn't.                 2 my office, I knew that when a new product came that we
  3     Q. (BY MR. ANDERSON) Well, what's your                 3 had to fill out a form for Texas.
  4 understanding of how Medicaid coverage might impact        4     Q. (BY MR. ANDERSON) And why was it that upon
  5 whether a doctor would or would not prescribe Abbott       5 launch of a new product Abbott chose to report prices
  6 products?                                                  6 to Texas Medicaid?
  7               MS. CITERA: Objection to the form.           7                MS. CITERA: Objection to the form.
  8 Outside the scope.                                         8     A. Because in order for Texas to put their drug
  9     A. I think, you know, from a business                  9 on their state Medicaid formulary, they required that
 10 perspective you don't want anything that's going to       10 form to be filled out.
 11 stop a product from being prescribed for any patient.     11     Q. (BY MR. ANDERSON) And why was it important
 12     Q. (BY MR. ANDERSON) And what is that business        12 to Abbott that Abbott's new drug products be placed on
 13 perspective?                                              13 the Texas Medicaid formulary?
 14     A. Access.                                            14                MS. CITERA: Objection to the form.
 15     Q. So, in essence, what you're saying is that a       15 Outside the scope.
 16 pharmacy is not going to dispense Abbott product if       16     A. So that it would be available for
 17 that pharmacy won't in turn be reimbursed when it does    17 prescriptions.
 18 so, correct?                                              18     Q. (BY MR. ANDERSON) And when you say
 19               MS. CITERA: Objection to the form.          19 eligible -- I mean, "available for prescription," you
 20 Outside the scope.                                        20 mean eligible for reimbursement to dispensing
 21     A. If a doctor doesn't write your product, it         21 providers such as pharmacies, correct?
 22 won't be reimbursed.                                      22                MS. CITERA: Objection to the form.
 23     Q. (BY MR. ANDERSON) Well, you keep going back        23 Outside the scope.
 24 to the doctor. Does the doctor when a pharmacy fills      24     A. My view of that was that a doctor could write
 25 a prescription for Abbott drug get the reimbursement?     25 a prescription for my product then and that when he --
00163                                                        00165
                                    You may have up to 3 Header and 3 Footer Lines
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    SHEET 44   PAGE 173                                          PAGE 175
  1     Q. You and others at Abbott knew that when you         1 involvement in whether or not drugs of Abbott's will
  2 reported or caused to be reported pricing information      2 be eligible for Medicaid reimbursement?
  3 to Medicaid programs, that that was in part allowing       3               MS. CITERA: Objection to the form.
  4 your products to be eligible for Medicaid                  4 Outside the scope.
  5 reimbursement.                                             5      A. I don't think First DataBank pricing has
  6                MS. CITERA: Objection to the form.          6 anything to do with whether or not a state decides to
  7 Outside the scope.                                         7 put a product on formulary.
  8     A. I know that when I reported information to          8      Q. (BY MR. ANDERSON) Why is it, then, that
  9 Texas, that I had to do that on that form in order for     9 Abbott chooses to report prices to First DataBank at
 10 the product to be on the state formulary and so that      10 all?
 11 prescriptions could be filled when they were presented    11               MS. CITERA: Objection to the form.
 12 at the pharmacies.                                        12 Outside the scope.
 13     Q. (BY MR. ANDERSON) And did you also know that       13      A. I don't know. It's been done for years. I'm
 14 other pricing information reported to entities beyond     14 not involved in that process.
 15 Texas Medicaid was necessary in order for Abbott          15      Q. (BY MR. ANDERSON) Others in the pricing
 16 products to be eligible for reimbursement by other        16 department are, though, right?
 17 Medicaid programs?                                        17      A. Yes.
 18               MS. CITERA: Objection to the form.          18               MS. CITERA: Objection to the form.
 19 Outside the scope.                                        19      Q. (BY MR. ANDERSON) Specifically people
 20     A. I don't understand what you're asking on           20 reporting to your boss, Joe Fiske, correct?
 21 that. I only report -- I fill out a Texas Vendor          21      A. Yes.
 22 form.                                                     22      Q. But all these years, 40 something years,
 23     Q. (BY MR. ANDERSON) And that's it?                   23 you've never learned why it is that Abbott chooses to
 24     A. That's it. There is AMP. We do report AMP          24 report prices to Medicaid via First DataBank?
 25 to Texas and there are a couple of other states that      25               MS. CITERA: Objection to the form.
00170                                                        00172
    PAGE 174                                                     PAGE 176
  1 we report.                                                 1 Outside the scope.
  2     Q. Isn't it true that over the years you've            2     A. I don't think that First DataBank prices has
  3 learned that the prices that Abbott reports to First       3 anything to do with whether or not a product is put on
  4 DataBank and the prices in turn that First DataBank        4 a Medicaid formulary.
  5 publishes also enables Abbott's drugs to be eligible       5     Q. (BY MR. ANDERSON) Does it have anything to
  6 for Medicaid reimbursement?                                6 do with whether or not the product will be
  7               MS. CITERA: Objection to the form.           7 reimbursable by a Medicaid program?
  8 Outside the scope.                                         8               MS. CITERA: Objection to the form.
  9     A. I don't know that reporting to First DataBank       9 Outside the scope.
 10 has anything to do with the Medicaid programs and what    10     A. I don't know that it would have anything to
 11 they put on their state formularies.                      11 do with whether or not it was reimbursable. I think
 12     Q. (BY MR. ANDERSON) You haven't been made            12 the state chooses what products they want on their
 13 aware over the years by various providers and other       13 formulary.
 14 industry participants that the way First DataBank does    14     Q. (BY MR. ANDERSON) And how do you understand
 15 or does not publish information for Abbott drugs          15 a state chooses which products will be on their
 16 impacts whether those Abbott drugs will be eligible       16 formulary?
 17 for reimbursement?                                        17               MS. CITERA: Objection to the form.
 18               MS. CITERA: Objection to the form.          18 Outside the scope.
 19 Outside the scope.                                        19     A. Well, for Texas, you fill out the Texas
 20     A. I don't see how First DataBank has anything        20 Vendor form and provide information and it's my
 21 to do with whether or not the drug is going to be         21 understanding that they put it on the formulary.
 22 reimbursed.                                               22     Q. (BY MR. ANDERSON) And what about other
 23     Q. (BY MR. ANDERSON) Okay. So I take it that's        23 programs? Do you have any understanding what they
 24 a no. You've never learned that First DataBank and        24 review in determining what to cover on their
 25 the information First Data publishes has some             25 formulary?
00171                                                        00173
                                    You may have up to 3 Header and 3 Footer Lines
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    SHEET 45   PAGE 177                                          PAGE 179
  1               MS. CITERA: Outside the scope,               1     A. -- that's just my general understanding.
  2 objection.                                                 2     Q. How do they gauge the cost of the product?
  3     A. I know that over the past few years they are        3     A. I don't know.
  4 using a preferred drug list and that in order to be on     4                MS. CITERA: Object to form. Outside
  5 that preferred drug list they are looking for              5 the scope.
  6 additional rebates.                                        6     Q. (BY MR. ANDERSON) Well, what do you -- what
  7     Q. (BY MR. ANDERSON) What about prior to the           7 do you understand they review in order to ascertain
  8 last few years when there were no preferred drug           8 the cost?
  9 lists?                                                     9     A. I don't know what --
 10               MS. CITERA: Objection to the form.          10                MS. CITERA: Objection to the form.
 11 Outside the scope.                                        11 Outside the scope.
 12     A. It was my understanding that products were         12     A. I don't know what they specifically review in
 13 added to the formularies, that there wasn't a             13 their review of product cost.
 14 restriction on it.                                        14     Q. (BY MR. ANDERSON) Well, what's your general
 15     Q. (BY MR. ANDERSON) And do you know how              15 understanding?
 16 products were added to the formularies?                   16                MS. CITERA: Objection to the form.
 17               MS. CITERA: Objection to the form.          17 Outside the scope.
 18 Outside the scope.                                        18     A. My general understanding is that when we are
 19     A. I believe they have what they call P&T             19 asked to participate or if we want our product
 20 committees and they review the clinical attributes of     20 included on a preferred drug list, what we receive
 21 the products.                                             21 from the State is a formula that we're supposed to use
 22     Q. (BY MR. ANDERSON) Does pricing information         22 in order to represent what we are going to offer in
 23 have any role whatsoever in whether or not a product      23 terms of an additional rebate.
 24 will be covered or the extent to which it will be         24     Q. (BY MR. ANDERSON) And are those the formulas
 25 covered for Medicaid reimbursement?                       25 that you previously testified this morning were based
00174                                                        00176
    PAGE 178                                                     PAGE 180
  1                MS. CITERA: Objection to the form.          1 off of AWP?
  2 Outside the scope.                                         2               MS. CITERA: Objection to the form.
  3     A. I don't have information related to each            3 Outside the scope.
  4 specific state and what determinations they make.          4     A. I don't recall testifying on something like
  5                MR. ANDERSON: Objection, nonresponsive.     5 that.
  6     Q. (BY MR. ANDERSON) I'm not asking about a            6     Q. (BY MR. ANDERSON) What pricing terminology
  7 specific state. I'm asking generally have you ever         7 is utilized in these formulas?
  8 gained an understanding that pricing information,          8     A. There's -- there are some that are based on
  9 specifically pricing information published or caused       9 AWP. There are some that are based on WAC as of the
 10 to be published by Abbott, is, in fact, important in      10 first day of the quarter or the last day of the
 11 whether or not Abbott drugs will be covered by various    11 quarter. There is also a term called guaranteed net
 12 Medicaids for Medicaid drug reimbursement?                12 unit price.
 13     A. I know in --                                       13     Q. And it's your understanding, as you testified
 14                MS. CITERA: Objection to the form.         14 this morning, that the AWP information and the WAC
 15 Outside the scope.                                        15 information is being obtained by the Medicaids from
 16     A. I know in the case of preferred drug lists         16 primarily First DataBank, correct?
 17 that costs are reviewed because they're asking us for     17               MS. CITERA: Objection to the form.
 18 additional rebates.                                       18 Outside the scope.
 19     Q. (BY MR. ANDERSON) Cost to review, is that          19     A. Yes.
 20 what you said?                                            20     Q. (BY MR. ANDERSON) All right. And you
 21     A. That cost is reviewed.                             21 understood and you have understood for many, many
 22     Q. What do you mean by that, cost?                    22 years that those WACs that First DataBank publishes
 23     A. I believe they look at the cost of the             23 come directly from Abbott, correct?
 24 product. You know --                                      24               MS. CITERA: Objection to the form.
 25     Q. And what --                                        25 Outside the scope.
00175                                                        00177
                                    You may have up to 3 Header and 3 Footer Lines
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    SHEET 72   PAGE 285                                          PAGE 287
  1     Q. So in other words, you haven't changed              1 a new product.
  2 anything with respect to how you're reporting prices       2     Q. (BY MR. ANDERSON) Okay. So you're limiting
  3 to Texas Medicaid now as opposed to how you were           3 your responses to new products?
  4 reporting prices to Texas Medicaid in 1999?                4                MS. CITERA: Objection to the form.
  5               MS. CITERA: Objection to form.               5     A. I only fill out the form for a new product.
  6     A. I haven't changed anything, other than there        6 And when that product is launched, that is -- the
  7 have been changes to the form, certain questions --        7 pricing that I've put on that form is the pricing that
  8     Q. (BY MR. ANDERSON) Yeah.                             8 I had.
  9     A. -- and things have changed over time.               9     Q. (BY MR. ANDERSON) And -- and --
 10     Q. For instance, you know now that the form           10     A. And I update that pricing and I thought that
 11 specifically states that all prices are to be reported    11 I was being compliant with what was being asked for by
 12 as net prices, net of discounts and chargebacks,          12 submitting to Texas the updates that I take to that
 13 correct?                                                  13 catalog pricing every time that there's a change.
 14               MS. CITERA: Objection to the form.          14     Q. Do you believe that sending Texas, for
 15     A. That wasn't my understanding.                      15 instance, a copy of the pertinent bid schedules for
 16     Q. (BY MR. ANDERSON) You -- you haven't seen          16 all the PPD products on an annual basis would help
 17 the forms recently that you've signed that include a      17 Texas Medicaid better estimate acquisition cost?
 18 definition of price as a net price?                       18               MS. CITERA: Objection to the form.
 19               MS. CITERA: Objection to form.              19 Outside the scope.
 20     A. Can you show me --                                 20     A. I don't know how they would use this bid
 21     Q. (BY MR. ANDERSON) Yeah.                            21 schedule to ascertain what their providers were paying
 22     A. -- what you're referring to?                       22 for product and what was an appropriate reimbursement.
 23     Q. Yes, we can show you one of those, but -- but      23     Q. (BY MR. ANDERSON) Well, could you take out
 24 as you sit right now, you don't remember that the         24 the chain prices of the bid schedule and send those in
 25 Texas form for several years now has defined price as     25 a letter to Texas Medicaid?
00282                                                        00284
    PAGE 286                                                     PAGE 288
  1 a net price?                                               1               MS. CITERA: Objection to the form.
  2               MS. CITERA: Objection to the form.           2     A. I don't know why I would be doing that.
  3     A. The price that I'm supplying, they've added         3     Q. (BY MR. ANDERSON) Do you -- let's -- I'll
  4 the AMP, which I can't supply at the time that I'm         4 rephrase it. You -- you said your --
  5 filling out the form.                                      5     A. Every chain does not -- every chain doesn't
  6     Q. (BY MR. ANDERSON) Right.                            6 participate in chain pricing. Every provider doesn't
  7     A. The pricing that I have is my net pricing.          7 participate in contrast.
  8     Q. Your AMP is your net pricing?                       8     Q. So is it Abbott's position that in providing
  9     A. Well, the list price and the WAC price --           9 responses to Texas Medicaid's request for chain
 10     Q. Yes.                                               10 pricing, that those prices only had to be provided if
 11     A. -- that's my price.                                11 every single chain in America was participating?
 12     Q. It is?                                             12               MS. CITERA: Objection to the form.
 13     A. Yes. That's what I'm selling that product          13 Outside the scope.
 14 at.                                                       14     A. I don't know. I -- you know, I didn't -- I
 15     Q. Well, but we just spent several minutes here       15 didn't see the relevance for Texas if those prices
 16 talking about these bid schedules and other prevailing    16 aren't being obtained in Texas.
 17 prices that are lower.                                    17     Q. (BY MR. ANDERSON) Did you make any effort to
 18               MS. CITERA: Objection to the form.          18 determine which chain drug stores operating in Texas,
 19     Q. (BY MR. ANDERSON) Are you submitting those         19 such as Walgreens, CVS, Eckerds, Rite Aid, Wal-Mart,
 20 now? Are you submitting the --                            20 HEB, et cetera, were or were not buying erythromycin
 21     A. When I fill out the Vendor form --                 21 on chain bid schedule pricing?
 22               MS. CITERA: Objection to the form.          22               MS. CITERA: Objection to the form.
 23     A. When I fill out the Texas Vendor form, that        23 Outside the scope.
 24 is the pricing that I have, that I filled out on the      24     A. I didn't look at what -- I don't have access
 25 form. I don't -- there is no bid schedule pricing for     25 easily to what providers are paying in Texas or retail
00283                                                        00285
                                    You may have up to 3 Header and 3 Footer Lines
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  1 accounts. If they have a direct contract, I might          1                MS. CITERA: Objection to the form.
  2 have some visibility to that. But if they're being         2 Outside the scope.
  3 sold by a wholesaler or some other entity, I don't         3                I'm just going to ask the witness to
  4 know what they end up paying for that product.             4 make sure she looks at these documents.
  5     Q. (BY MR. ANDERSON) Well, did you ever check          5     Q. (BY MR. ANDERSON) Yeah. You're welcome to
  6 your direct contract files to see which chains were or     6 look at all of them.
  7 were not buying PPD drugs on contract?                     7     A. (Witness reviewing documents). They appear
  8               MS. CITERA: Objection to the form.           8 to be.
  9     A. I didn't check to see what chains were in           9     Q. Okay. And -- and I may not have asked this
 10 Texas. I have -- there were contracts for chains. I       10 precise question before, but can you provide some
 11 didn't go to our file to determine --                     11 basic framework for how often the bid schedule prices
 12     Q. (BY MR. ANDERSON) And is it Abbott's --            12 are reviewed and updated and new bid schedules
 13     A. -- who -- who --                                   13 circulated?
 14     Q. Is it Abbott's position that Texas really          14                MS. CITERA: Objection to the form.
 15 didn't want chain prices?                                 15 Outside the scope.
 16               MS. CITERA: Objection to the form.          16     A. I don't know how often they're circulated.
 17 Outside the scope.                                        17     Q. (BY MR. ANDERSON) Uh-huh.
 18     A. I -- I won't assume what Texas wanted.             18     A. They should be updated whenever a price
 19     Q. (BY MR. ANDERSON) But what you do know is          19 change occurs.
 20 that Abbott chose not to report chain prices?             20     Q. And how does a bid schedule price change
 21               MS. CITERA: Objection to the form.          21 occur?
 22 Outside the scope.                                        22                MS. CITERA: Objection to the form.
 23     A. I provided chain pricing on the vendor -- on       23     A. Price increases.
 24 the Texas Vendor forms and I thought I was -- I           24     Q. (BY MR. ANDERSON) What about price
 25 thought I was complying with their request for updates    25 decreases?
00286                                                        00288
    PAGE 290                                                     PAGE 292
  1 by linking them to my catalog price increases and          1     A. There might be some changes. Federal Supply
  2 changes.                                                   2 Schedule would have to be updated on an annual basis.
  3     Q. And just so the record is clear, those              3 I don't know how frequently price changes in the other
  4 catalog price changes aren't reflective of any bid --      4 channels.
  5     A. They're not contract --                             5     Q. Well, let's say --
  6     Q. -- schedule prices?                                 6     A. They may --
  7     A. They're not contract prices.                        7     Q. -- for instance --
  8               MS. CITERA: Objection to the form.           8     A. They may remain the same for some period of
  9     A. Sorry. They are not contract prices, no.            9 time or they may increase.
 10     Q. (BY MR. ANDERSON) Now, let's mark --               10     Q. Is it your experience that PPD multisource
 11 let's -- let's mark for the record Exhibit 511, which     11 products from time to time do experience price
 12 is titled "1998 Bid Schedule Pricing; Exhibit 512,        12 decreases as a result of competitive market pressures?
 13 titled "1999 Bid Schedule Pricing"; Exhibit 201 -- I      13               MS. CITERA: Objection to the form.
 14 mean, pardon me, Exhibit 513, which is titled "2001       14     A. That could occur, but oftentimes we were
 15 Bid Schedule Pricing"; Exhibit 514, which is titled       15 looking for opportunities to increase prices.
 16 "2002 Bid Schedule"; Exhibit 515, which is titled         16     Q. (BY MR. ANDERSON) And you said "could
 17 "2003 Bid Schedule"; Exhibit 516, which is titled "Bid    17 occur," but is it your experience that, in fact, that
 18 Schedule 2004"; Exhibit 517, which is titled "Bid         18 does occur from time to time?
 19 Schedule 2005"; and Exhibit 518, which is titled "Bid     19               MS. CITERA: Objection to the form.
 20 Schedule 2006."                                           20     A. Multisource products, we don't have a lot of
 21               Now, just to streamline matters, you'll     21 emphasis on multisource products, so to lower the
 22 agree with -- with me, Ms. DeYoung, that these are the    22 price, it's not really something that we're looking
 23 prevailing bid schedules for the time periods listed,     23 for. We're primarily looking to be able to raise our
 24 and at least since 1998 Abbott has maintained bid         24 price. We are not really a generic company, so it's
 25 schedules such as Exhibit 510 through Exhibit 516?        25 not like we're trying to really beat the competition
00287                                                        00289
                                    You may have up to 3 Header and 3 Footer Lines
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                                ProTEXT Transcript Condensing for Windows
    SHEET 75   PAGE 297                                          PAGE 299
  1     A. I know --                                           1     A. I'm not completely sure why it was
  2               MS. CITERA: Objection to the form.           2 inappropriate. Our marketing is focused on what the
  3     A. I believe that there were instructions given        3 clinical attributes of a product are, not what the
  4 related to AWP. It may have covered that as well. I        4 cost is.
  5 know that we weren't supposed to be reporting AWP          5     Q. (BY MR. ANDERSON) Do you believe that
  6 anymore.                                                   6 Abbott's ever marketed a product such as erythromycin
  7     Q. (BY MR. ANDERSON) Do you believe that under         7 to pharmacies based on reimbursement, at least in
  8 Abbott's current policies it's appropriate for Abbott      8 part?
  9 personnel to provide any type of profit analysis or        9               MS. CITERA: Objection to the form.
 10 reimbursement analysis to Abbott customers?               10 Outside the scope.
 11               MS. CITERA: Objection to the form.          11     A. I think we've -- it's been marketed based
 12 Outside the scope.                                        12 upon what our prices versus a competitive price, you
 13     A. I don't believe that's appropriate.                13 know, for -- for the acquisition cost. That's been
 14     Q. (BY MR. ANDERSON) Do you believe prior to          14 the focus of -- you know, we were trying to have our
 15 the implementation of Abbott's written policy             15 product priced lower than competition so we can take
 16 concerning that issue on or about 2004 it was             16 that inventory.
 17 appropriate for Abbott to provide to customers profit     17     Q. (BY MR. ANDERSON) Outside of what you've
 18 analysis or reimbursement analysis?                       18 just described as market price competition --
 19               MS. CITERA: Objection to the form.          19     A. Uh-huh.
 20 Outside the scope.                                        20     Q. -- are you aware of any efforts by Abbott to
 21     A. I'm not -- I don't -- what was the question        21 market, for instance, erythromycins and other products
 22 again? I'm not quite sure what you're asking me.          22 based on reimbursement or prices that are the
 23     Q. (BY MR. ANDERSON) Prior to the                     23 foundation for reimbursement such as AWP?
 24 implementation to this written policy --                  24               MS. CITERA: Objection to the form.
 25     A. Okay.                                              25 Outside the scope.
00294                                                        00296
    PAGE 298                                                     PAGE 300
  1     Q. -- concerning halting of AWP information            1     A. I don't -- I don't believe I've seen
  2 or -- AWP information being disseminated by Abbott,        2 anything, you know, like that. I believe our emphasis
  3 that is, or profit analysis or reimbursement analysis,     3 has always been on what our -- what our cost is from a
  4 do you believe it would have been appropriate for          4 competitive standpoint, competitive price standpoint
  5 Abbott personnel to provide that type of information       5 to other products in the class or, you know, direct
  6 prior to 2004?                                             6 competitor.
  7                MS. CITERA: Objection to the form.          7     Q. (BY MR. ANDERSON) Do you believe it would be
  8 Outside the scope.                                         8 wrong for Abbott to market its products based on
  9     A. I don't believe it would have been                  9 reimbursement or prices that are the foundation for
 10 appropriate.                                              10 reimbursement such as AWP?
 11     Q. (BY MR. ANDERSON) And so to the extent that        11               MS. CITERA: Objection to the form.
 12 that type of information was provided, that would have    12 Outside the scope.
 13 been in violation of Abbott's policy?                     13     A. I don't believe that would be appropriate.
 14                MS. CITERA: Objection to the form.         14     Q. (BY MR. ANDERSON) And why do you believe
 15 Outside the scope.                                        15 that would be inappropriate?
 16     A. I don't know that there was a written policy       16               MS. CITERA: Objection to the form.
 17 on it --                                                  17 Outside the scope.
 18     Q. (BY MR. ANDERSON) Uh-huh.                          18     Q. (BY MR. ANDERSON) You can go ahead.
 19     A. -- but I -- I recall that there weren't            19     A. Oh. Because our focus has been on the
 20 supposed to be discussions related.                       20 clinical attributes of the product in the marketplace
 21     Q. Why is it -- why, in your opinion, would that      21 and our competition. I'm not aware that we were
 22 type of profit analysis or reimbursement analysis be      22 looking at reimbursement.
 23 inappropriate?                                            23     Q. Well, outside of the fact that you understood
 24                MS. CITERA: Objection to the form.         24 Abbott's focus to be clinical, is there any other
 25 Outside the scope.                                        25 reason why you think that marketing based on
00295                                                        00297
                                    You may have up to 3 Header and 3 Footer Lines
